
Retired Judge Daniel T. Hogan
Retired Judge Thomas Pokorny
Retired Judge Jennifer L. Sargus
Pursuant to R.C. 3.16(C)(1), at least one member of the special commission is of the same party as the public official and all members of the special commission shall receive compensation for their services and reimbursement for expenses incurred in connection with special-commission functions, from funds appropriated by the attorney general's office.
It is further ordered that Jesse Mosser, staff attorney in the Office of Chief Legal Counsel at the Supreme Court of Ohio, shall serve as secretary to the special commission, with authority to contact the parties, schedule hearings, and sign orders on behalf of and at the direction of the special commission.
All documents in this matter shall be filed with the secretary to the special commission either by mail or in another manner directed by the secretary. The original and five copies of all documents shall be filed.
All documents filed with the special commission shall also be served on all other parties to this matter on the day of filing with the secretary.
Pursuant to R.C. 3.16(C)(2), all meetings of the special commission shall be closed to the public and the records shall not be made available to the public for inspection or copying until the special commission issues its written report or otherwise concludes its proceedings
